      Case 23-12839-amc                     Doc         Filed 02/09/24 Entered 02/09/24 14:05:00                         Desc Main
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 Fill in this information to identify the case:


   Debtor 1 Dominique Lundy
   (Spouse, if filing)

   United States Bankruptcy Court for the EASTERN District of Pennsylvania


   Case number 23-12839 AMC




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                               12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



 Name of creditor: PENNYMAC LOAN SERVICES, LLC                                            Court claim no. (if known):    3                     _


 Last 4 digits of any number you use to
 identify the debtor’s account: 5783
 Does this notice supplement a prior notice of postpetition fees,
 Expenses, and charges?
 No
 Yes. Date of the last notice:           /      /

 Part 1:    Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
 If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.
      Description                                                Dates incurred                                       Amount

  1. Late charges                                                                                                        (1)   $
  2. Non-sufficient funds (NSF) fees                                                                                     (2)   $
  3. Attorney fees – Plan review                                             10/17/2023                                  (3)   $ 450.00
  4. Filing fees and court costs                                                                                         (4)   $
  5. Bankruptcy/Proof of claim fees                                          10/27/2023                                  (5)   $ 500.00
  6. Appraisal/Broker’s price opinion fees                                                                               (6)   $
  7. Property inspection fees                                                                                            (7)   $
  8. Tax advances (non-escrow)                                                                                           (8)   $
  9. Insurance advances (non-escrow)                                                                                     (9)   $
 10. Property preservation expenses. Specify:                                                                           (10)   $
 11. Other. Specify: Attorney fee – Objection to Plan                        10/25/2023                                 (11)   $ 550.00
 12. Other. Specify:                                                                                                    (12)   $
 13. Other. Specify:                                                                                                    (13)   $
 14. Other. Specify:                                                                                                    (14)   $


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.



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            Dominique Lundy
Debtor 1                                                                              _       Case number (if known) 23-12839 AMC
                 First Name      Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

  
   I am the creditor.
  I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.


                                                                                                       02/01/2024
             /s/ Mark A. Cronin
                    Signature
                                                                                              Date      _/      /




 Print:             Mark A. Cronin                                                        _   Title   Attorney for Creditor
                    First Name                      Middle Name         Last Name



 Company            KML Law Group, P.C.                                                   _



 Address            701                        Market Street, Suite 5000                  _
                    Number                 Street

                    Philadelphia,                           PA                19106
                   City                        State         Zip Code


 Contact phone      (215)627–1322                                                             Email mcroin@kmllawgroup.com




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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE: Dominique Lundy                                 BK NO. 23-12839 AMC
                                   Debtor(s)
                                                         Chapter 13
  PENNYMAC LOAN SERVICES, LLC
                      Movant                             Related to Claim No. 3
            vs.

  Dominique Lundy
                                   Debtor(s)

  Scott F. Waterman,
                                   Trustee

                      CERTIFICATE OF SERVICE
   NOTICE OF POSTPETITION MORTGAGE FEES, EXPENSES, AND CHARGES
  I, Mark A. Cronin of KML Law Group, P.C., certify that I am, and at all times hereinafter
  mentioned was, more than 18 years of age and that on February 9, 2024, I served the above
  captioned pleading, filed in the proceeding on the parties at the addresses shown below;

  Debtor(s)                                              Attorney for Debtor(s) (via ECF)
  Dominique Lundy                                        Michael I. Assad
  537 W Luray St                                         1500 Walnut Street
  Philadelphia, PA 19140                                 Suite 900
                                                         Philadelphia, PA 19102

                                                         Trustee (via ECF)
                                                         Scott F. Waterman
                                                         2901 St. Lawrence Ave.
                                                         Suite 100
                                                         Reading, PA 19606


  Method of Service: electronic means or first-class mail.

  Dated: February 9, 2024

                                                             /s/ Mark A. Cronin
                                                             Mark A. Cronin Esquire
                                                             Attorney I.D. 58240
                                                             KML Law Group, P.C.
                                                             BNY Mellon Independence Center
                                                             701 Market Street, Suite 5000
                                                             Philadelphia, PA 19106
                                                             215-627-1322
                                                             mcronin@kmllawgroup.com
